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              IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION


ANTHONY OLIVER,


      Plaintiff,

V.                                              CASE NO. CV418-100


CITY OF POOLER, a public
entity; CITY OF SAVANNAH, a
public entity; CITY OF
BLOOMINGDALE, a public entity;
STATE OF GEORGIA, a state
municipality; NATHAN DEAL, in
his official capacity as
Governor; CHARLES DAVIS, in his
individual capacity; ADAM
WILLIS, in his individual
capacity; MATT LIBBY, in his
individual and official
capacity; ASHLEY BROWN,
individual and official
capacity; MARK REVENEW, in his
individual and official
capacity; BLAIR JEFFCOAT, in
his individual and official
capacity; DOES 1-10, inclusive;
CITY OF PORT WENTWORTH, a
public municipality; and ADRIAN
GATES, in his individual
capacity;

      Defendants.




                                 ORDER


      Before the Court is Defendants City of Pooler, City of Port

Wentworth, City of Bloomingdale, Charles Davis, Adam Willis, Matt

Libby,   Ashley   Brown,   and   Blair   Jeffcoat's   Motion   to   Dismiss

Plaintiff's   Complaint    and/or   Amended   Complaint   (Doc.     76)   and
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Defendants City of Savannah, Adrian Gates, and Mark Revenew's

Motion to Dismiss Plaintiff's Complaint and/or Amended Complaint

{Doc. 78). Plaintiff has not responded to either motion. In their

motions to dismiss.            Defendants request that the Court dismiss

Plaintiff's complaint and amended complaint under Federal Rule of

Civil Procedure 41(b) and Southern District of Georgia Local Rule

41.1. (Doc. 76 at 5-6; Doc. 78 at 6.) After careful consideration.

Defendants' motions (Docs. 76, 78) are GRANTED.

     On February 28, 2019, this Court adopted Magistrate Judge

Graham's Report and            Recommendation, classified Plaintiff as a

vexatious litigant, and ordered that Plaintiff comply with the

following conditions:

  (1)   In addition to paying the Court's filing fee, Oliver

        must post a $1,000 contempt bond with the Clerk of

        Court. This bond will be held by the Clerk of Court

        and, if Plaintiff has conducted the affairs in his

        case appropriately, the bond will be returned to him

        at its conclusion;


  (2)   Plaintiff must file into this case, and attach to any

        complaint he files, a signed affidavit swearing that

        he   has   read   Federal      Rule   of   Civil   Procedure   11   and


        will abide by its provisions; and

  (3)   Plaintiff must also attach to his complaint both a

        photocopy         of     the    Report      and     Recommendation,
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          recommending dismissal bf CV417-101, and the Order

          dismissing the case.

(Doc. 59 at 2.) The Court also ordered Plaintiff to file an amended

complaint     by March    8,   2019.   (Id.    at 2-3.)       The    Court   warned

Plaintiff that failure to comply with the conditions set forth in

the order and file an amended complaint by March 8, 2019 would

result in dismissal of this action. (Id. at 3.)

       On March 4, 2019, Plaintiff filed an amended complaint. (Doc.

60.)    Plaintiff,    however,    failed      to    comply    with    the    filing

conditions.     Specifically,    Plaintiff         failed    to   post   a   $1,000

contempt bond with the Clerk of Court; Plaintiff failed to attach

a signed affidavit swearing that he has read Federal Rule of Civil

Procedure 11 and will abide by its provisions; and Plaintiff failed

to attach to his complaint both a photocopy of the Report and

Recommendation, recommending dismissal of CV417-101, and the Order

dismissing the case.

       Federal Rule of Civil Procedure 41(b) provides, in part: ^^If

the plaintiff fails to prosecute or to comply with these rules or

a court order, a defendant may move to dismiss the action or any

claim against it." As the Supreme Court has stated, "[t]he power

to invoke this sanction is necessary in order to prevent undue

delays in the disposition of pending cases and to avoid congestion

in the calendars of the District Courts." Link v. Wabash R.R. Co.,

370 U.S. 626, 629-30, 82 S. Ct. 1386, 1388, 8 L. Ed. 2d 734 (1962).
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Similarly, under Local Rule 41.1(b) and (c) ^^the assigned Judge

may, after notice to counsel of record, sua sponte, or on motion

of any party, dismiss any action for want of prosecution, with or

without prejudice" for            [w]illful disobedience or neglect of any

order of the Court; or . . . [a]ny other failure to prosecute a

civil action with reasonable promptness." S.D. Ga. L. R. 41.1. In

this case. Plaintiff has willfully disobeyed the Court's order and

failed to comply with the conditions imposed. The Court warned

Plaintiff that failure to comply would result in dismissal of this

action. Moreover, Plaintiff has shown a lack of desire to prosecute

this case diligently. Plaintiff has not responded to Defendants'

motions to dismiss and Plaintiff has failed to participate in this

case    for   nearly     one   year.   Accordingly,       the   Court   finds   that

dismissal       of   Plaintiff s     complaint      and   amended    complaint    is

appropriate under Rule 41(b) and Local Rule 41.1.

       Defendants       request     that   the   Court     dismiss      Plaintiff s

complaint and amended complaint with prejudice. Courts considering

dismissal with prejudice must determine ""whether there is a clear

record of delay or willful contempt and a finding that lesser

sanctions would         not suffice." Goforth        v. Owens, 766 F.2d 1533,

1535    (11th    Cir.    1985)    (citation   and    internal    quotation      marks

omitted). ""Dismissal without prejudice, however, does not mandate

such a strict showing because dismissal without prejudice is "not

an adjudication on the merits.' " Lee v. Correct Care Sols., LLC,
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CV   119-012, 2020 WL 3491840, at *1 (S.D. Ga.            June 26, 2020)

{quoting Taylor v. Spaziano, 251 F. App'x 616, 619 (11th Cir.

2007)).

      Here, the Court finds that dismissal of Plaintiff's case with

prejudice is warranted. Plaintiff failed to comply with the Court's

February   28,   2019   order   despite   the   Court's    warning   that

noncompliance would result in dismissal of his claims. See Moon v.

Newsome, 863 F.2d 835, 837 (11th Cir. 1989) (''While dismissal is

an extraordinary remedy, dismissal upon disregard of an order,

especially where the litigant has been forewarned, generally is

not an abuse of discretion."); Donaldson v. Clark, 819 F.2d 1551,

1557 n.6 (11th Cir. 1987) ("The court has the power . . . to

dismiss a case with prejudice . . . for failure to comply with

court orders . . . ."). Although Plaintiff did file his amended

complaint before March 8, 2019, Plaintiff failed to post a $1,000

contempt bond, failed to attach a signed affidavit swearing that

he has read Federal Rule of Civil Procedure 11 and will abide by

its provisions, and failed to attach to his complaint both a

photocopy of the Report and Recommendation, recommending dismissal

of CV417-101, and the Order dismissing the case. In addition.

Plaintiff failed to respond to Defendants' motions to dismiss and

has failed to participate in this case altogether for nearly a

year. The Eleventh Circuit also dismissed Plaintiff's appeal of

the Court's adoption order for want of prosecution. (Doc. 69 at
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2.) Moreover, Plaintiff has an extensive history of filing actions

in this Court and subsequently failing to abide by the Court's

rules, procedures, and orders. (Doc. 53 at 1.) Based on Plaintiff's

excessive filings, this Court and at least one other district court

have classified Plaintiff as a vexatious litigant. (Id. at 6-7;

Doc. 59 at 2.)

     In light of these facts, the Court has no reason to believe

that Plaintiff's disregard of his obligations as a litigant will

be rectified by an order imposing sanctions lesser than dismissal

with prejudice. See Drayton v. Mclntosh Cty., Ga., NO.: 2:16-cv-

53, 2020 WL 5258228, at *2 (S.D. Ga. Sept. 3, 2020); Calloway v.

Perdue Farms, Inc., 313 F. App'x 246, 250 (11th Cir. 2009). As a

result, the Court DISMISSES Plaintiff's complaint (Doc. 1) and

amended complaint (Doc. 60) WITH PREJUDICE.

                              CONCLUSION


     For the foregoing reasons,      Defendants' motions to dismiss

(Docs. 76, 78) are GRANTED and Plaintiff's claims are DISMISSED

WITH PREJUDICE. The Clerk of Court is DIRECTED to close this case.

     SO ORDERED this 2/        bay of October 2020.



                                 WILLIAM T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN   DISTRICT OF GEORGIA
